                Case 1:24-cv-11110-PBS Document 2 Filed 04/25/24 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


ANGELA GONNEVILLE, individually
and on behalf of all others similarly
situated,
                                                       Civ. A. No.
             Plaintiff,

v.

LENS.COM, INC.,

             Defendant.


                  DEFENDANT LENS.COM, INC.’S CORPORATE DISCLOSURE

         The defendant, Lens.com, Inc., states that it has no parent corporation and that no publicly

 held corporation owns 10% or more of its stock.




 3829220_1
                                                   1
            Case 1:24-cv-11110-PBS Document 2 Filed 04/25/24 Page 2 of 3




                                      Respectfully submitted,

                                      LENS.COM, INC.

                                      By its attorneys:

                                      /s/ Theodore J. Folkman

                                      Theodore J. Folkman (BBO No. 647642)
                                      RUBIN AND RUDMAN LLP
                                      53 State St.
                                      Boston, Mass. 02109
                                      (617) 330-7135
                                      tfolkman@rubinrudman.com

                                      Mark Bettilyon (pro hac vice forthcoming)
                                      Jed Hansen (pro hac vice forthcoming)
                                      THORPE NORTH & WESTERN, LLP
                                      The Walker Center
                                      175 S. Main Street, Suite 900
                                      Salt Lake City, Utah 84111
                                      (801) 566-6633
                                      mark.bettilyon@tnw.com


Dated: April 25, 2024




3829220_1
                                         2
            Case 1:24-cv-11110-PBS Document 2 Filed 04/25/24 Page 3 of 3




                                  CERTIFICATE OF SERVICE

      I certify that on April 25, 2024, I served this document by first-class mail, postage prepaid,
and email on:

        Carlin Phillips
        cphillips@phillipsgarcia.com
        Andrew J. Garcia
        agarcia@phillipsgarcia.com
        Phillips & Garcia, P.C.
        13 Ventura Drive
        North Dartmouth, MA 02747

                                                             /s/ Theodore J. Folkman




3829220_1
                                                 3
